                    Case 19-56460-lrc                 Doc 1         Filed 04/26/19 Entered 04/26/19 13:36:12                                   Desc
                                                                    Petition Page 1 of 52

Fill in this information to identify your case:


United States Bankruptcy Court for the:

NORTHERN DISTRICT OF GEORGIA
                                                                                                                      21119 APR 26 PH 1:314
Case number (if known)                                                        Chapter you are filing under:
                                                                                                                                               Fl
                                                                              •   Chapter 7


     19-56460                                                                 ID Chapter 11
                                                                              o Chapter 12
                                                                              ID Chapter 13                                   El Check if this an
                                                                                                                                 amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                 12/17
The bankruptcy forms use you and Debtor Ito refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car," the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.



 Part 1:   Identify Yourself

                                   About Debtor 1:                                                            Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     1Nrite the name that is on
     your government-issued                                                                         First name
     picture identification (for
     example, your driver's
     license or passport).         Middle name                                                      Middle name
     Bring your picture            Hawkins
     identification to your
                                   Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, Ill)
     meeting with the trustee.




2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-2473
     Individual Taxpayer
     Identification number
     (ITIN)




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Debtor 1   Amanda Hawkins                                                                         Case number (if Mown)




                                About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):


4.   Any business names and
     Employer Identification
     Numbers (EIN) you have •       I have not used any business name or EINs.               0 I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and    Business name(s)                                             Business name(s)
     doing business as names

                                EINs                                                         EINs




5.   Where you live                                                                          If Debtor 2 lives at a different address:

                                257 Fox Run
                                Loganville, GA 30052
                                Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                Gwinnett
                                County                                                        County

                                If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                above, till it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                notices to you at this mailing address.                       mailing address.



                                Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




7.   Why you are choosing       Check one:                                                    Check one:
     this districtto file for
     bankruptcy                 •      Over the last 180 days before filing this petition,    O     Over the last 180 days before filing this petition, I
                                       I have lived in this district longer than in any             have lived in this district longer than in any other
                                       other district.                                              district.

                                0      I have another reason.                                 O     I have another reason.
                                       Explain. (See 28 U.S.C. § 1408.)                             Explain. (See 28 U.S.C. § 1408.)




 Official Form 101                           Voluntary Petition for Individuals Filing for Bankruptcy                                                page 2
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Debtor 1    Amanda Hawkins                                                                                  Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                             • Chapter 7
                                 O Chapter 11
                                 O Chapter 12
                                 O Chapter 13



8.   How you will pay the fee    •          twill pay the entire fee when I file my petition. Please check with the clerk's office in your local court for more details
                                            about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's check, or money
                                            order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                            a pre-printed address.
                                 o          I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                            The Filing Fee in Installments (Official Form 103A).
                                 1:1        I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                            but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                            applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                            the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for          •     No.
     bankruptcy within the
     last 8 years?                0 Yes.
                                                 District                                 When                             Case number
                                                 District                                 When                             Case number
                                                 District                                 When                             Case number



10. Are any bankruptcy            •    No
    cases pending or being
    filed by a spouse who is      0 Yes.
    not tiling this case with
    you, or by a business
    partner, or by an
    affiliate?
                                                 Debtor                                                                   Relationship to you
                                                 District                                 When                            Case number, if known
                                                 Debtor                                                                   Relationship to you
                                                 District                                 When                            Case number, if known



11. Do you rent your              •    No.         Go to line 12.
    residence?
                                  0 Yes.          Has your landlord obtained an eviction judgment against you?

                                                   0        No. Go to line 12.
                                                   0        Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                            this bankruptcy petition.




 Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
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Debtor 1    Amanda Hawkins                                                                                 Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time      •   No.     Go to Part 4.
    business?
                                   0 Yes.      Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                               o      Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                               EI      Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                O      Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                El     Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                El     None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax retum or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                   •   No.      I am not filing under Chapter 11.
     Fora definition of small
     business debtor, see 11
                                   ▪   No.     I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                               Code.

                                   0 Yes.      I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any         •   No.
    property that poses or is
    alleged to pose a threat       Dyes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     fivestock that must be fed,             Where is the property?
     or a building that needs
      urgent repairs?
                                                                           Number, Street, City, State & Zip Code




Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                                                page 4
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Debtor 1    Amanda Hawkins                                                                           Case number (ir known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                   About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether          You must check one:                                          You must check one:
    you have received a            •    I received a briefing from an approved credit            El I received a briefing from an approved credit
    briefing about credit               counseling agency within the 180 days before I               counseling agency within the 180 days before I filed
    counseling.                         filed this bankruptcy petition, and I received a             this bankruptcy petition, and I received a certificate of
                                        certificate of completion.                                   completion.
     The law requires that you
     receive a briefing about          Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before          plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check     0   I received a briefing from an approved credit             O   I received a briefing from an approved credit
     one of the following              counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do         filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to       a certificate of completion.                                  of completion.
     file.
                                       Wthin 14 days after you file this bankruptcy                  Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court     petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you        payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your            0   I certify that I asked for credit counseling              o   I certify that I asked for credit counseling services
     creditors can begin               services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again_      unable to obtain those services during the 7                  those services during the 7 days after I made my
                                       days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                       circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                       of the requirement.
                                                                                                     To ask for a 30-day temporary waiver of the requirement,
                                       To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                       requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                       what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                       you were unable to obtain it before you filed for             circumstances required you to file this case.
                                       bankruptcy, and what exigent circumstances
                                       required you to file this case.                                Your case may be dismissed if the court is dissatisfied
                                                                                                      with your reasons for not receiving a briefing before you
                                       Your case may be dismissed if the court is                     filed for bankruptcy.
                                       dissatisfied with your reasons for not receiving a
                                       briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                       If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                       still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                       You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                       agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                       developed, if any. If you do not do so, your case
                                                                                                      Any extension of the 30-day deadline is granted only for
                                       may be dismissed.
                                                                                                      cause and is limited to a maximum of 15 days.
                                       Any extension of the 30-day deadline is granted
                                       only for cause and is limited to a maximum of 15
                                       days.
                                   o   I am not required to receive a briefing about             O    I am not required to receive a briefing about credit
                                       credit counseling because of:                                  counseling because of:

                                        O     Incapacity.                                             O    Incapacity.
                                              I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                              that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                              making rational decisions about finances.                    decisions about finances.

                                        O     Disability.                                             O    Disability.
                                              My physical disability causes me to be                       My physical disability causes me to be unable to
                                              unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                              by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                              reasonably tried to do so.                                   do so.

                                        O    Active duty.                                             O    Active duty.
                                             I am currently on active military duty in a                   I am currently on active military duty in a military
                                             military combat zone.                                         combat zone.
                                       If you believe you are not required to receive a               If you believe you are not required to receive a briefing
                                       briefing about credit counseling, you must file a              about credit counseling, you must file a motion for waiver
                                       motion for waiver credit counseling with the court.            of credit counseling with the court.




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Debtor 1    Amanda Hawkins                                                                              Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do       16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an
    you have?                             individual primarily for a personal, family, or household purpose."
                                          0 No. Go to line 16b.

                                          •   Yes. Go to line 17.
                                16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                          money for a business or investment or through the operation of the business or investment.
                                          0 No. Go to line 16c.
                                          0 Yes. Go to line 17.
                                16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under        0 No.     I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

                                                                              estimate that after any exempt property is excluded and administrative expenses
     Do you estimate that      •   Yes. I am filing under Chapter 7. Do you
     after any exempt                   are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses              •    No
     are paid that funds will
     be available for                     0 Yes
     distribution to unsecured
     creditors?

18. How many Creditors do       • 1-49                                          0 1,000-5,000                               0 25,001-50,000
    you estimate that you                                                       05001-10,000                                050,001-100,000
    owe?                        0 50-99
                                0100-199                                        0 10,001-25,000                             0 More than100,000
                                0 200-999

19. How much do you             0 $0 -$50,000                                   0   $1,000,001 -$10 million                 0    $500,000,001 - $1 billion
    estimate your assets to     0 $50,001 -$100,000                             0   $10,000,001 -$50 million                0    $1,000,000,001 - $10 billion
    be worth?
                                • $100,001 - $500,000                           0   $50,000,001 -$100 million               0    $10,000,000,001 -$50 billion
                                0 $500,001 - $1 million                         0   $100,000,001 -$500 million              0    More than $50 billion


20. How much do you             0 $0 -$50,000                                   0   $1,000,001 -$10 million                 0    $500,000,001 -$1 billion
    estimate your liabilities   0 $50,001 -$100,000                             0   $10,000,001 -$50 million                0     $1,000,000,001 - $10 billion
    to be?                                                                                                                        $10,000,000,001 -$50 billion
                                • $100,001 - $500,000                           0   $50,000,001 -$100 million               0
                                0 $500,001 - $1 million                         0   $100,000,001 -$500 million              0     More than $50 billion


Part 7:    Sign Below

For you                         I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                document, I have obtained and read the notice required by 11 U.S.C, § 342(b).

                                I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                I understand making a false statement, concealing property, or obtaining money or property by froud in connection with a
                                bankruptcy case can resul in fines up to $250,000, or imprisonment for up to 20 years, or both, 18 y.s.c. §§ 152, 1341, 1519,
                                      571.

                                  manda IThwkins                                                  Signature of Debtor 2
                                Signature of Debtor 1

                                Executed on ()(..t-                                               Executed on
                                              MM/DD                                                               MM / DD / YYYY




 Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                                   page 6
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Debtor 1   Amanda Hawkins                                                                                  Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                                                                                    Date
                                Signature of Attorney for Debtor                                                 MM / DD / YYYY


                                Printed name


                                Firm name


                                Number, Street, City, State & ZIP Code

                                Coritia phicirie                                               Email address


                                Bar number & State




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Debtor 1   Amanda Hawkins                                                                                 Case number (if known)



For you if you are filing this   The law allows you, as an individual, to represent yourself in bankruptcy court, but you should understand that many
bankruptcy without an            people find it extremely difficult to represent themselves successfully. Because bankruptcy has long-term
attorney                         financial and legal consequences, you are strongly urged to hire a qualified attorney.

If you are represented by an     To be successful, you must correctly file and handle your bankruptcy case. The rules are very technical, and a mistake or
attorney, you do not need to     inaction may affect your rights. For example, your case may be dismissed because you did not file a required document,
file this page.                  pay a fee on time, attend a meeting or hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy
                                 administrator, or audit firm if your case is selected for audit. If that happens, you could lose your right to file another case,
                                 or you may lose protections, including the benefit of the automatic stay.

                                 You must list all your property and debts in the schedules that you are required to file with the court. Even if you plan to pay
                                 a particular debt outside of your bankruptcy, you must list that debt in your schedules. If you do not list a debt, the debt may
                                 not be discharged. If you do not list property or properly claim it as exempt, you may not be able to keep the property. The
                                 judge can also deny you a discharge of all your debts if you do something dishonest in your bankruptcy case, such as
                                 destroying or hiding property, falsifying records, or lying. Individual bankruptcy cases are randomly audited to determine if
                                 debtors have been accurate, truthful, and complete. Bankruptcy fraud is a serious crime; you could be fined and
                                 imprisoned.

                                 If you decide to file without an attorney, the court expects you to follow the rules as if you had hired an attorney. The court
                                 will not treat you differently because you are filing for yourself. To be successful, you must be familiar with the United
                                 States Bankruptcy Code, the Federal Rules of Bankruptcy Procedure, and the local rules of the court in which your case is
                                 filed. You must also be familiar with any state exemption laws that apply.

                                 Are you aware that filing for bankruptcy is a serious action with long-term financial and legal consequences?
                                 0 No
                                 •   Yes

                                 Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are inaccurate or incomplete, you
                                 could be fined or imprisoned?
                                 In No
                                 •   Yes

                                 Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
                                 • No
                                 0 Yes            Name of Person
                                                  Attach Bankruptcy Petition Prepares Notice, Declaration, and Signature (Official Form 119).

                                 By signing here, I acknowledge that I understand the risks involved in filing without an attomey. I have read and understood
                                 this notice, and I am aware that filing a bankruptcy case without an attorney may cause me to lose my rights or property ill do
                                     properly handle the c se.

                                 Amanda Hawkins                                                    Signature of Debtor 2
                                 Signature of Debtor 1

                                 Date 011     „R6.
                                                Qd                                                 Date
                                        MM/DDicrYYY                                                         MM / DD / YYYY
                                 Contact phone
                                 Cell phone
                                                   quu-to
                                                CI -     ea(:)
                                                                                                   Contact phone
                                                                                                   Cell phone
                                 Email address hewjninSnooskycin                          i ed,ec)pEyytail address




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Fill in this information to identify your case:

Debtor 1                  Amanda Hawkins
                          First Name                  Middle Name                   Last Name

Debtor 2
(Spouse if, filing)       First Name                  Middle Name                   Last Name


United States Bankruptcy Court for the:          NORTHERN DISTRICT OF GEORGIA

Case number
(if known)                                                                                                                            o   Check if this is an
                                                                                                                                          amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                            4119

Be as complete and accurate as possible. If two married people are Ming together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.    What is your current marital status?

      •       Married
      o       Not married

2.    During the last 3 years, have you lived anywhere other than where you live now?

      •       No
      o       Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

          Debtor 1 Prior Address:                         Dates Debtor 1               Debtor 2 Prior Address:                                Dates Debtor 2
                                                          lived there                                                                         lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

      •       No
      o       Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Part 2          Explain the Sources of Your Income

4.    Did you have any income from employment or from operating a business during this year or the two previous calendar years?
      Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
      If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

      O       No
      •       Yes. Fill in the details.

                                               Debtor 1                                                       Debtor 2
                                               Sources of income               Gross income                   Sources of income               Gross income
                                               Check all that apply.           (before deductions and         Check all that apply.           (before deductions
                                                                               exclusions)                                                    and exclusions)

 From January 1 of current year until          • Wages, commissions,                       $10,000.00         o Wages, commissions,
 the date you filed for bankruptcy:                                                                           bonuses, tips
                                               bonuses, tips
                                               o Operating a business                                         o Operating a business




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 1
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Debtor 1      Amanda Hawkins                                                                         Case number (if known)



                                              Debtor 1                                                      Debtor 2
                                              Sources of income               Gross income                  Sources of income                Gross income
                                              Check all that apply.           (before deductions and        Check all that apply.            (before deductions
                                                                              exclusions)                                                    and exclusions)
For last calendar year:                       • Wages, commissions,                       $36,000.00        0 Wages, commissions,
(January Ito December 31, 2018)                                                                             bonuses, tips
                                              bonuses, tips
                                              0 Operating a business                                        0 Operating a business

For the calendar year before that:            • Wages, commissions,                       $35,000.00        0 Wages, commissions,
(January 1 to December 31, 2017)                                                                            bonuses, tips
                                              bonuses, tips
                                              0 Operating a business                                         0 Operating a business


6.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

     •      No
     0      Yes. Fill in the details.

                                             Debtor 1                                                        Debtor 2
                                             Sources of income                Gross income from              Sources of income               Gross income
                                             Describe below.                  each source                    Describe below.                 (before deductions
                                                                              (before deductions and                                         and exclusions)
                                                                              exclusions)

Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.   Are either Debtor l's or Debtor 2's debts primarily consumer debts?
     0 No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an
                    individual primarily for a personal, family, or household purpose."

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825" or more?
                     O No.      Go to line 7.
                     O Yes List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
                                paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                not include payments to an attorney for this bankruptcy case.
                     "Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

     •      Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                     O No.       Go to line 7.
                     • Yes       List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                 include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                 attorney for this bankruptcy case.


         Creditor's Name and Address                      Dates of payment             Total amount          Amount you        Was this payment for ...
                                                                                               paid            still owe
         Freedom Mortgage                                112019                           $3,507.00                 $0.00      U mortgage
         10500 Kincaid Drive                             212019
                                                                                                                               0    Car
         Fishers, IN 46037                               3/2019
                                                                                                                               0    Credit Card
                                                                                                                               0    Loan Repayment
                                                                                                                               0    Suppliers or vendors
                                                                                                                               0    Other




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      Creditor's Name and Address                        Dates of payment              Total amount         Amount you         Was this payment for ...
                                                                                               paid           still owe
      Atlanta Postal Credit Union                        1/2019                             $978.00           $8,787.00        0 Mortgage
      3900 Crown Road                                    2/2019                                                                • Car
      Atlanta, GA 30380                                  3/2019
                                                                                                                               O Credit Card
                                                                                                                               0 Loan Repayment
                                                                                                                               0 Suppliers or vendors
                                                                                                                               0 Other


7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insider include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
     of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
     a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
     alimony.

     •     No
     O     Yes. List all payments to an insider.
      Insider's Name and Address                         Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                               paid            still owe

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
     insider?
     Include payments on debts guaranteed or cosigned by an insider.

     •     No
     O     Yes. List all payments to an insider
      Insider's Name and Address                         Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                               paid            still owe       Include creditors name

Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

           No
     O     Yes. Fill in the details.
      Case title                                         Nature of the case           Court or agency                          Status of the case
      case number

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

     •     No. Go to line 11.
     O     Yes. Fill in the information below.
      Creditor Name and Address                          Describe the Property                                          Date                        Value of the
                                                                                                                                                       property
                                                         Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?
     •     No
     O     Yes. Fill in the details.
      Creditor Name and Address                          Describe the action the creditor took                          Date action was                   Amount
                                                                                                                        taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
     court-appointed receiver, a custodian, or another official?

     •     No
     O     Yes


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Part 5:       List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
     •       No
     o       Yes. Fill in the details for each gift.
         Gifts with a total value of more than $600                 Describe the gifts                                        Dates you gave                 Value
         per person                                                                                                           the gifts

         Person to Whom You Gave the Gift and
         Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
     •       No
     El      Yes. Fill in the details for each gift or contribution.
         Gifts or contributions to charities that total              Describe what you contributed                            Dates you                       Value
         more than 6600                                                                                                       contributed
         Charity's Name
         Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

     •       No
     o       Yes. Fill in the details.
         Describe the property you lost and                Describe any insurance coverage for the loss                       Date of your        Value of prope rty
         how the loss occurred                                                                                                loss                             l st
                                                           Include the amount that insurance has paid. List pending
                                                           insurance claims on line 33 of Schedule A/B: Property.

 Part 7:       List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

     0       No
     •       Yes. Fill in the details.
         Person Who Was Paid                                         Description and value of any property                    Date payment               Amount of
         Address                                                     transferred                                              or transfer was             payment
         Email or website address                                                                                             made
         Person Who Made the Payment, if Not You
         001 Debtorcc, Inc                                           Credit Counseling                                        4/2019                        $14.95
         378 Summit Avenue
         Jersey City, NJ 07306



17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

     •       No
     o       Yes. Fill in the details.
         Person Who Was Paid                                         Description and value of any Property                    Date payment               Amount of
         Address                                                     transferred                                              or transfer was             payment
                                                                                                                              made




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18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
        •       No
        O       Yes. Fill in the details.
            Person Who Received Transfer                                Description and value of                   Describe any property or      Date transfer was
            Address                                                     property transferred                       payments received or debts    made
                                                                                                                   paid in exchange
            Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
        •        No
        O       Yes. Fill in the details.
            Name of trust                                                Description and value of the property transferred                       Date Transfer was
                                                                                                                                                 made

    Part 8'         List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
        •       No
        O       Yes. Fill in the details.
            Name of Financial Institution and                      Last 4 digits of               Type of account or        Date account was          Last balance
            Address (Number, Street, City, State and ZIP           account number                 instrument                closed, sold,         before closing or
            Code)                                                                                                           moved, or                      transfer
                                                                                                                            transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

        •       No
        O        Yes. Fill in the details.
            Name of Financial Institution                                Who else had access to it?             Describe the contents              Da you still
            Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City,                                            have it?
                                                                         State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

        •        No
        O       Yes. Fill in the details.
            Name of Storage Facility                                     Who else has or had access             Describe the contents              Do you still
            Address (Number, Street, City,   State and ZIP Code)         to it?                                                                    have it?
                                                                         Address (Number, Street, City,
                                                                         State and ZIP Code)

    Part 9:         Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

        •        No
        O        Yes. Fill in the details.
            Owner's Name                                                 Where is the property?                 Describe the property                         ValUe
            Address (Number, Street, City, State and ZIP Code)           (Number, Street, City, State and ZIP
                                                                         Code)

    Part 10'        Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

•       Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
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         toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
         regulations controlling the cleanup of these substances, wastes, or material.
•        Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
         to own, operate, or utilize it, including disposal sites.
•        Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
         hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

         •           No
         O           Yes. Fill in the details.
                 Name of site                                             Governmental unit                             Environmental law, if you
                 Address (Number, Street, City, State and ZIP Code)       Address (Number, Street, City, State and      know it
                                                                          ZIP Code)


25. Have you notified any governmental unit of any release of hazardous material?

         •            No
         O            Yes. Fill in the details.
                 Name of site                                             Governmental unit                             Environmental law, if you         Date of notice
                 Address (Number, Street, City, State and ZIP Code)       Address (Number, Street, City, State and      know it
                                                                          ZIP Code)


26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

         •            No
         O            Yes. Fill in the details.
                 Case Title                                               Court or agency                            Nature of the case                   Status of the
                 Case Number                                              Name                                                                            case
                                                                          Address (Number, street, City,
                                                                          State and ZIP Code)


    Part 11:           Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                      0 A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                      0 A member of a limited liability company (LLC) or limited liability partnership (LLP)

                      0 A partner in a partnership

                      0 An officer, director, or managing executive of a corporation

                      0 An owner of at least 5% of the voting or equity securities of a corporation

         •            No. None of the above applies. Go to Part 12.

         0            Yes. Check all that apply above and fill in the details below for each business.
                 Business Name                                        Describe the nature of the business                 Employer Identification number
                 Address                                                                                                  Do not include Social Security number or ITIN.
                 (Number, Street, City, State and ZIP Code)           Name of accountant or bookkeeper
                                                                                                                          Dates business existed

    28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
        institutions, creditors, or other parties.

             •        No
         O            Yes. Fill in the details below.
                 Name                                                 Date Issued
                 Address
                 (Number, Street, City, State and ZIP Code)

     Part 12:           Sign Below

    I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
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are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
1    .S.C. §§ 162, 131, 1619, and 3671.



    Amanda Haw ins                                         Signature of Debtor 2
    Signature of Debtor 1

    Date                                                    Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
•     No
0 Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
•     No
0 Yes. Name of Person         . Attach the Bankruptcy Petition Prepares Notice, Declaration, and Signature (Official Form 119).




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Fill in this information to identify your case and this filing:

Debtor 1                    Amanda Hawkins
                            First Name                              Middle Name                        Last Name
Debtor 2
(Spouse, if filing)         First Name                              Middle Name                        Last Name

United States Bankruptcy Court for the:                      NORTHERN DISTRICT OF GEORGIA

Case number                                                                                                                                               0    Check if this is an
                                                                                                                                                               amended filing




Official Form 106A/B
Schedule A/B: Property                                                                                                                                        12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

   0   No. Go to Part 2.

   •   Yes. Where is the property?




 1.1                                                                        What is the property? Check all that apply
        257 Fox Run                                                               •    Single-family home                        Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                             Duplex or multi-unit building             the amount of any secured claims on Schedule D:
                                                                                                                                 Creditors Who Have Claims Secured by Properly.
                                                                                       Condominium or cooperative


                                                                                  o    Manufactured or mobile home
                                                                                                                                 Current value of the      Current value of the
        Loganville                       GA         30052-0000                    El Land                                        entire property?          portion you own?
       City                              State           ZIP Code                 CI   Investment property                             $195,000.00                 $195,000.00
                                                                                  O Timeshare
                                                                                                                                 Describe the nature of your ownership interest
                                                                                  El Other                                       (such as fee simple, tenancy by the entireties, or
                                                                            Who has an interest in the property? Check one       a life estate), if known.
                                                                                  •    Debtor 1 only                             Fee simple
        Gwinnett                                                                  O    Debtor 2 only
        County                                                                    O    Debtor 1 and Debtor 2 only
                                                                                                                                     Check if this is community property
                                                                                  O    At least one of the debtors and another       (see instructions)
                                                                            Other information you wish to add about this item, such as local
                                                                            property identification number:




 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here                                                 =>                                               $195,000.00

 Part 2       Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles


   •   No
   ▪   Yes




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4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
  Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

  •       No
  o Yes



5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
  pages you have attached for Part 2. Write that number here                                                 =>                                   $0.00


Part 3 Describe Your Personal and Household Items
Do you own or have any legal or equitable interest in any of the following items?                                                 Current value of the
                                                                                                                                  portion you own?
                                                                                                                                  Do not deduct secured
                                                                                                                                  claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
   El No
      •   Yes. Describe

                              Living Room Suite, Bedroom Suite, Washer/Dryer                                                                     $2,500.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
   O No
      •   Yes. Describe

                               TV, Computer. AudioNideo equipment                                                                                  $200.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
              other collections, memorabilia, collectibles
      • No
      o Yes. Describe

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
      • No
      El Yes. Describe

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      •   No
      o Yes. Describe

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
   ▪ No
      •   Yes. Describe

                               Clothes                                                                                                             $500.00


12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      • No
      o Yes. Describe




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13. Non-farm animals
    Examples: Dogs, cats, birds, horses
   • No
   0 Yes. Describe

14. Any other personal and household items you did not already list, including any health aids you did not list
   M No
   0 Yes. Give specific information.....


15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
    for Part 3. Write that number here                                                                                                    $3,200.00


Part 4 Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following?                                                    Current value of the
                                                                                                                               portion you own?
                                                                                                                               Do not deduct secured
                                                                                                                               claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
   • No
   •   Yes

                                                                                                      Cash                                      $10.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
               institutions. If you have multiple accounts with the same institution, list each.
   • No
   0 Yes                                                        Institution name:

18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
   • No
   El Yes                         Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
   • No
   0 Yes. Give specific information about them
                                Name of entity:                                          % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
   • No
   0 Yes. Give specific information about them
                                 Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
   • No
    0 Yes. List each account separately.
                              Type of account:                  Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
   • No
   0 Yes.                                                        Institution name or individual:



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23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
   • No
   0 Yes                 Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
    • No
    0 Yes                 Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
   • No
   0 Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   • No
   0 Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
   • No
   0 Yes. Give specific information about them...

Money or property owed to you?                                                                                                     Current value of the
                                                                                                                                   portion you own?
                                                                                                                                   Do not deduct secured
                                                                                                                                   claims or exemptions.

28. Tax refunds owed to you
   • No
   0 Yes. Give specific information about them, including whether you already filed the returns and the tax years


29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   • No
   0 Yes. Give specific information


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation, Social Security
              benefits; unpaid loans you made to someone else
   • No
   0 Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
   • No
   0 Yes. Name the insurance company of each policy and list its value.
                                   Company name:                                           Beneficiary:                              Surrender or refund
                                                                                                                                     value:

32, Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
   • No
   0 Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
   • No
   0 Yes. Describe each claim



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34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
   M No
   o Yes. Describe each claim

35. Any financial assets you did not already list
   • No
   13 Yes. Give specific information..


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here                                                                                                                   $10.00


Part 5        Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
   •    No. Go to Part 6.
   o Yes. Go to line 38.



Part 6        Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
              If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
        •     No. Go to Part 7.
        CI Yes. Go to line 47.


 Part 7:           Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
        Examples: Season tickets, country club membership
       • No
       o Yes. Give specific information

54. Add the dollar value of all of your entries from Part 7. Write that number here                                                                       $0.00


 Part 8:          List the Totals of Each Part of this Form


 55.        Part 1: Total real estate, line 2                                                                                                          $195,000.00
 56.        Part 2: Total vehicles, line 5                                                               $0.00
 57.        Part 3: Total personal and household items, line 15                                   $3,200.00
 58.        Part 4: Total financial assets, line 36                                                     $10.00
 59.        Part 5: Total business-related property, line 45                                             $0.00
 60.        Part 6: Total farm- and fishing-related property, line 52                                    $0.00
 61.        Part 7: Total other property not listed, line 54                                             $0.00

 62. Total personal property. Add lines 56 through 61...                                          $3,210.00      Copy personal property total            $3,210.00


 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                 $198,210.00




Official Form 106A/B                                                           Schedule A/B: Property                                                         page 5
                      Case 19-56460-lrc              Doc 1      Filed 04/26/19 Entered 04/26/19 13:36:12                               Desc
                                                                Petition Page 21 of 52
Fill in this information to identity your case:

Debtor 1                 Amanda Hawkins
                         First Name                   Middle Name                  Last Name

Debtor 2
(Spouse if, filing)      First Name                   Middle Name                  Last Name


United States Bankruptcy Court for the:        NORTHERN DISTRICT OF GEORGIA

Case number
(if known)                                                                                                                      0   Check if this is an
                                                                                                                                    amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                              4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule NB: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.
Part 1:         Identify the Property You Claim as Exempt

     Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

      •   You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

      0 You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
     Brief description of the property and line on      Current value of the   Amount of the exemption you claim         Specific laws that allow exemption
     Schedule A/S that lists this property              portion you own
                                                        Copy the value from    Check only one box for each exemption,
                                                        Schedule AIES
     257 Fox Run Loganville, GA 30052                        $195,000.00       •                        $21,500.00       0.C.G.A. § 44-13-100(a)(1)
     Gwinneft County
     Line from Schedule AB: 1.1                                                      100% of fair market value, up to
                                                                                     any applicable statutory limit

     Living Room Suite, Bedroom Suite,                          $2,500.00                                 $2,500.00      0.C.G.A. § 44-13-100(a)(4)
                                                                               •
     Washer/Dryer
     Line from Schedule A/I3: 6.1                                              O     100% of fair market value, up to
                                                                                     any applicable statutory limit

      TV, Computer. AudioNideo
      equipment
                                                                    $200.00    •                            $200.00      0.C.G.A. § 44-13-100(a)(4)

      Line from Schedule MEI: 7.1                                              O      100% of fair market value, up to
                                                                                      any applicable statutory limit

      Clothes                                                       $500.00                                 $500.00      0.C.G.A. § 44-13-100(a)(4)
     Line from Schedule MEI: 11.1
                                                                               O      100% of fair market value, up to
                                                                                      any applicable statutory limit

      Cash                                                           $10.00    IN                            $10.00      0.C.G.A. §44-13-100(a)(6)
     Line from Schedule AB: 16.1
                                                                               O      100% of fair market value, up to
                                                                                      any applicable statutory limit




Official Form 106C                               Schedule C: The Property You Claim as Exempt                                                       page 1 of 2
              Case 19-56460-lrc               Doc 1       Filed 04/26/19 Entered 04/26/19 13:36:12                       Desc
                                                          Petition Page 22 of 52
Debtor 1 Amanda Hawkins                                                                      Case number (if known)
3. Are you claiming a homestead exemption of more than $170,360?
   (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
    •    No
    O   Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
         0     No
         0     Yes




Official Form 106C                            Schedule C: The Property You Claim as Exempt                                      page 2 of 2
                      Case 19-56460-lrc                 Doc 1        Filed 04/26/19 Entered 04/26/19 13:36:12                                       Desc
                                                                     Petition Page 23 of 52
Fill in this information to identify your case:

Debtor 1                    Amanda Hawkins
                            First Name                   Middle Name                       Last Name
Debtor 2
(Spouse if, filing)         First Name                   Middle Name                        Last Name

United States Bankruptcy Court for the:              NORTHERN DISTRICT OF GEORGIA

Case number
(if known)                                                                                                                                   1:1 Check if this is an
                                                                                                                                                 amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                          12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
      o No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.

      •    Yes. Fill in all of the information below.
Part 1:         List All Secured Claims
                                                                                                           Column A               Column B                Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separate
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
much as possible, list the claims in alphabetical order according to the creditor's name.                  Do not deduct the      that supports this      portion
                                                                                                           value of collateral.   claim                   If any
          Atlanta Postal Credit
2.1                                              Describe the property that secures the claim:                  $8,529.49                 $6,675.00            $1,854.49
          Union
          Creditor's Name                        2013 Kia Optima
                                                 (105K miles)

                                                 As of the date you file, the claim is: Check all that
          3900 Crown Road                        apply.
          Atlanta, GA 30380                      El Contingent
          Number, Street City, State &Zip Code   o Unliquidated
                                                 O Disputed
 Who owes the debt? Check one.                   Nature of lien. Check all that apply.

 •   Debtor 1 only                               •   An agreement you made (such as mortgage or secured
 O Debtor 2 only                                      car loan)
 0 Debtor 1 and Debtor 2 only                    O Statutory lien (such as tax lien, mechanic's lien)
 O At least one of the debtors and another       El Judgment lien from a lawsuit
 o Check if this claim relates to a              O Other (including a right to offset)
   community debt

 Date debt was incurred                                 Last 4 digits of account number




Official Form 106D                               Schedule D: Creditors Who Have Claims Secured by Property                                                         page 1 of 2
                Case 19-56460-lrc                     Doc 1         Filed 04/26/19 Entered 04/26/19 13:36:12                                 Desc
                                                                    Petition Page 24 of 52
Debtor 1    Amanda Hawkins                                                                               Case number (it known)
            First Name                  Middle Name                     Last Name

2.2   Freedom Mortgage                           Describe the property that secures the claim:                 $161,381.00           $195,000.00              $0.00
      Creditors Name                             257 Fox Run Loganville, GA 30052
                                                 Gwinnett County
                                                 As of the date you file, the claim is: Check all that
      10500 Kincaid Drive                        apply.
      Fishers, IN 46037                          El Contingent
      Number, Street, City, State & Zip Code     El Unliquidated
                                                 El Disputed
Who owes the debt? Check one.                    Nature of lien. Check all that apply.

II Debtor 1 only                                 111 An agreement you made (such as mortgage or secured
El Debtor 2 only                                      car loan)

El Debtor 1 and Debtor 2 only                    El Statutory lien (such as tax lien, mechanic's lien)
El At least one of the debtors and another       El Judgment lien from a lawsuit
El Check if this claim relates to a              El Other (including a right to offset)
    community debt

Date debt was incurred                                  Last 4 digits of account number          10XX




 Add the dollar value of your entries in Column A on this page. Write that number here:                                $169,910.49
 If this is the last page of your form, add the dollar value totals from all pages.
 Write that number here:
                                                                                                                       $169,910.49

Part 2     List Others to Be Notified for a Debt That You Already Listed
Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part I. For example, if a collection agency is
trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
debts in Part 1, do not fill out or submit this page.




Official Form 106D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 2 of 2
                      Case 19-56460-lrc                  Doc 1            Filed 04/26/19 Entered 04/26/19 13:36:12                                           Desc
                                                                          Petition Page 25 of 52
Fill in this information to identify your case:

Debtor 'I                 Amanda Hawkins
                          First Name                        Middle Name                       Last Name
Debtor 2
(Spouse if, filing)       First Name                        Middle Name                       Last Name

United States Bankruptcy Court for the:               NORTHERN DISTRICT OF GEORGIA

Case number
(if known)                                                                                                                                           13 Check if this is an
                                                                                                                                                          amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule NB: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no Information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
Part 1:         List All of Your PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims against you?

       •   No. Go to Part 2.
       0 Yes.
 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

       O No. You have nothing to report in this part. Submit this form to the court with your other schedules.

       •   Yes.

4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list Claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.11you have more than three nonpriority unsecured Claims fill but the Continuation Page of
       Part 2,
                                                                                                                                                              Total claim

 4.1        Acceptance Now                                            Last 4 digits of account number                                                                     $2,643.00
            Nonpriority Creditor's Name
            5501 Headquarters Drive                                   When was the debt incurred?
            Plano, TX 75024
            Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

            II Debtor 1 only                                          0 Contingent
            O Debtor 2 only                                           1:1 Unliquidated
            O Debtor 1 and Debtor 2 only                              0 Disputed
            O At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

            El Check if this claim is for a community                 0 Student loans
            debt                                                      O Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                           report as priority claims
            •     No                                                  0 Debts to pension or profit-sharing plans, and other similar debts

            0 Yes                                                     •   Other. Specify   Account




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                   Page 1 of 9
                    Case 19-56460-lrc                  Doc 1       Filed 04/26/19 Entered 04/26/19 13:36:12                                      Desc
                                                                   Petition Page 26 of 52
Debtor 1       Amanda Hawkins                                                                      Case number (if known)


4.2      Comenity Bank/Torrid                                  Last 4 digits of account number       XXXX                                               $439.00
         Nonpriority Creditors Name
         P.O. Box 182789                                       When was the debt incurred?
         Columbus, OH 43218
         Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

         El Debtor 1 only                                      O Contingent
           O Debtor 2 only                                     o Unliquidated
         El Debtor 1 and Debtor 2 only                         O Disputed
         O At least one of the debtors and another             Type of NONPRIORITY unsecured claim:
                                                               0 Student loans
         O Check if this claim is for a community
         debt                                                  O Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                     report as priority claims

           ▪   No                                              El Debts to pension or profit-sharing plans, and other similar debts

           O Yes                                               •   Other. Specify   Credit card purchases


4.3      Covington Credit/SMC                                  Last 4 digits of account number       XXXX                                               $919.00
         Nonpriority Creditors Name
         4665 Atlanta Hwy ste 400                              When was the debt incurred?
         Loganville, GA 30052
         Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

           •   Debtor 1 only                                   El Contingent
           O Debtor 2 only                                     El Unliquidated
           El Debtor 1 and Debtor 2 only                       O Disputed
           0 At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

           O Check if this claim is for a community            0 Student loans
           debt                                                O Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                     report as priority claims

           111 No                                              El Debts to pension or profit-sharing plans, and other similar debts

           El Yes                                              •   Other. Specify   Loan


4.4        Credit One Bank                                     Last 4 digits of account number       XXXX                                               $955.00
           Nonpriority Creditor's Name
           6801 S. Cimarron Road                               When was the debt incurred?
           Las Vegas, NV 89113
           Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

           •   Debtor 1 only                                   O Contingent
           El Debtor 2 only                                    o Unliquidated
           O Debtor 1 and Debtor 2 only                        O Disputed
           0 At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

           0 Check if this claim is for a community
                                                               O Student loans
           debt                                                O Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                     report as priority claims

           •   No                                              O Debts to pension or profit-sharing plans, and other similar debts

           El Yes                                              El Other. Specify    Charge Off Account




Official Form 106 E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 2 of 9
                   Case 19-56460-lrc                  Doc 1         Filed 04/26/19 Entered 04/26/19 13:36:12                                        Desc
                                                                    Petition Page 27 of 52
Debtor 1      Amanda Hawkins                                                                        Case number (if known)


4.5      Creditors Bureau Association                          Last 4 digits of account number                                                              $219.00
         Nonpriority Creditors Name
         112 Ward St                                           When was the debt incurred?
         Macon, GA 31204
         Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

         •    Debtor 1 only                                     El Contingent
         El Debtor 2 only                                       El Unliquidated
         01Debtor 1 and Debtor 2 only                           El Disputed
         El At least one of the debtors and another             Type of NONPRIORITY unsecured claim:
                                                                El Student loans
         o Check if this claim is for a community
         debt                                                   o Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                        report as priority claims

         In No                                                  1:3 Debts to pension or profit-sharing plans, and other similar debts

         El Yes                                                 •   Other. Specify   Collections on Account


4.6      Crunch Fitness (Snellville)                            Last 4 digits of account number                                                             $264.00
         Nonpriority Creditor's Name
         377 Hoes Lane                                          When was the debt incurred?
         Suite 200
         Piscataway, NJ 08854
         Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

         •    Debtor 1 only                                     El Contingent
         El Debtor 2 only                                       o Unliquidated
         El Debtor 1 and Debtor 2 only                          El Disputed
         El At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

         o Check if this claim is for a community               El Student loans
         debt                                                   El Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                        report as priority claims

         •    No                                                El Debts to pension or profit-sharing plans, and other similar debts

         El Yes                                                 •   Other. Specify   Collections on Account


4.7      Enhanced Recovery                                      Last 4 digits of account number       3XXX                                                 $1,275.00
         Nonpriority Creditor's Name
         8014 Bayberry Road                                     When was the debt incurred?
         Jacksonville, FL 32256
         Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

         111 Debtor 1 only                                      1p Contingent
         El Debtor 2 only                                       El Unliquidated
         El Debtor 1 and Debtor 2 only                          El Disputed
         o At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

         o Check if this claim is for a community               El Student loans
         debt                                                   1:1 Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                        report as priority claims

          •   No                                                El Debts to pension or profit-sharing plans, and other similar debts

         El Yes                                                 •   Other. Specify   Collections on Account (Sprint)




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 3 of 9
                    Case 19-56460-lrc                    Doc 1       Filed 04/26/19 Entered 04/26/19 13:36:12                                        Desc
                                                                     Petition Page 28 of 52
Debtor 1       Amanda Hawkins                                                                        Case number (if known)


4.8      FedLoan Servicing                                       Last 4 digits of account number                                                            $2,484.00
         Nonpriority Creditor's Name
         P.O. Box 69184                                          When was the debt incurred?
         Harrisburg, PA 17106
         Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

           •   Debtor 1 only                                     1:1 Contingent
         0 Debtor 2 only                                         o Unliquidated
           0 Debtor 1and Debtor 2 only                           1:1 Disputed
         CI At least one of the debtors and another              Type of NONPRIORITY unsecured claim:
                                                                 1:1 Student loans
         o Check if this claim is for a community
         debt                                                    1:1 Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                         report as priority claims

           •   No                                                0 Debts to pension or profit-sharing plans, and other similar debts
           0 Yes                                                 •   Other. Specify    Student Loan


4.9        Fed Loan Servicing                                    Last 4 digits of account number                                                            $1,327.00
         Nonpriority Creditor's Name
         P.O. Box 69184                                          When was the debt incurred?
         Harrisburg, PA 17106
         Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

           •   Debtor 1 only                                     1:1 Contingent
           0 Debtor 2 only                                       o Unliquidated
           0 Debtor 1 and Debtor 2 only                          0 Disputed
           0 At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           o Check if this claim is for a community              0 Student loans
           debt                                                  0 Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                       report as priority claims

           •   No                                                1::1 Debts to pension or profit-sharing plans, and other similar debts

           0 Yes                                                 •   Other. Specify    Student Loan


4.1
0          Fed Loan Servicing                                    Last 4 digits of account number                                                            $3,500.00
           Nonpnority Creditor's Name
           P.O. Box 69184                                        When was the debt incurred?
           Harrisburg, PA 17106
         Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

           •   Debtor 1 only                                     1:1 Contingent
           El Debtor 2 only                                      o Unliquidated
           El Debtor 1 and Debtor 2 only                         0 Disputed
           1:1 At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

           0 Check if this claim is for a community              0 Student loans
           debt                                                  El Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                       report as priority claims

           •   No                                                1:1 Debts to pension or profit-sharing plans, and other similar debts

           0 Yes                                                 1111 Other. Specify   Student Loan




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 4 of 9
                      Case 19-56460-lrc                  Doc 1        Filed 04/26/19 Entered 04/26/19 13:36:12                                       Desc
                                                                      Petition Page 29 of 52
Debtor 1         Amanda Hawkins                                                                      Case number (if known)


4.1                                                                                                                                                         $4,704.00
1       FedLoan Servicing                                        Last 4 digits of account number
        Nonpriority Creditors Name
        P.O. Box 69184                                           When was the debt Incurred?
        Harrisburg, PA 17106
        Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.

         •       Debtor 1 only                                   0 Contingent
         0 Debtor 2 only                                         El Unliquidated
         0 Debtor 'I and Debtor 2 only                           El Disputed
                                                                 Type of NONPRIORITY unsecured claim:
         El At least one of the debtors and another
                                                                 0 Student loans
         El Check if this claim is for a community
         debt                                                    0 Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                         report as priority claims

         In No                                                   0 Debts to pension or profit-sharing plans, and other similar debts

         El Yes                                                  Ili Other. Specify     Student Loan


4.1                                                                                                                                                           $836.00
2        First Premeire Bank                                     Last 4 digits of account number
         Nonpriority Creditor's Name
         3820 N. Louise Ave                                      When was the debt incurred?
         Sioux Falls, SD 57107
         Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             •   Debtor 1 only                                   El Contingent
             0 Debtor 2 only                                     o Unliquidated
           El Debtor 1 and Debtor 2 only                         El Disputed
                                                                 Type of NONPRIORITY unsecured claim:
           0 At least one of the debtors and another
                                                                 0 Student loans
         El Check if this claim is for a community
         debt                                                    0 Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                         report as priority claims

             •   No                                               0 Debts to pension or profit-sharing plans, and other similar debts

             El Yes                                               •   Other. Specify    Credit card purchases


4.1                                                                                                                                                           $978.00
3          GWinnett Emergency Specialist                         Last 4 digits of account number
         Nonpriority Creditor's Name
             2651 Warrenville Rd                                 When was the debt incurred?
             Suite 500
             Downers Grove, IL 60515
             Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
             Who incurred the debt? Check one.

             •   Debtor 1 only                                    0 Contingent
             El Debtor 2 only                                     o Unliquidated
             El Debtor 1 and Debtor 2 only                        0 Disputed
             0 At least one of the debtors and another            Type of NONPRIORITY unsecured claim:
                                                                  0 Student loans
             o Check if this claim is for a community
             debt                                                 El Obligations arising out of a separation agreement or divorce that you did not
             Is the claim subject to offset?                      report as priority claims

             •   No                                               0 Debts to pension or profit-sharing plans, and other similar debts

             El Yes                                               •    Other. Specify   Medical Bill




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 5 of 9
                        Case 19-56460-lrc               Doc 1         Filed 04/26/19 Entered 04/26/19 13:36:12                                       Desc
                                                                      Petition Page 30 of 52
Debtor 1           Amanda Hawkins                                                                    Case number (if known)


4.1                                                                                                                                                          $675.00
4       High Priority Loans                                      Last 4 digits of account number
        Nonpnonty Creditors Name
        299 South Main Street                                    When was the debt incurred?
        Suite 1300
        Salt Lake City, UT 84111
         Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

           •       Debtor 1 only                                 El Contingent
         El Debtor 2 only                                        El Unliquidated
         El Debtor 1 and Debtor 2 only                           1:1 Disputed
                                                                 Type of NONPRIORITY unsecured claim:
         El At least one of the debtors and another
                                                                 El Student loans
           El Check if this claim is for a community
           debt                                                  El Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                       report as priority claims

           •       No                                            El Debts to pension or profit-sharing plans, and other similar debts

           El Yes                                                1. Other. Specify      Loan


4.1
5          LVNV Funding                                           Last 4 digits of account number      XXXX                                                    $0.00
           Nonpnonty Creditor's Name
           PO Box 98875                                          When was the debt incurred?
           Las Vegas, NV 89193
           Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

                   Debtor 1 only                                  El Contingent
           El Debtor 2 only                                       o Unliquidated
           El Debtor 1 and Debtor 2 only                          El Disputed
                                                                  Type of NONPRIORITY unsecured claim:
           El At least one of the debtors and another
                                                                  El Student loans
           o Check if this claim is for a community
           debt                                                   o Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                        report as priority claims
               •   No                                             El Debts to pension or profit-sharing plans, and other similar debts

               El Yes                                             •    Other. Specify   Charge Off (Credit One)


4.1                                                                                                                                                         $3,032.00
6              Nationwide Recovery                                Last 4 digits of account number
           Nonpriority Creditor's Name
               545 Inman St W                                     When was the debt incurred?
               Cleveland, TN 37311
               Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.

               •   Debtor 1 only                                  El Contingent
               El Debtor 2 only                                   o Unliquidated
               ID Debtor 1 and Debtor 2 only                      El Disputed
                                                                  Type of NONPRIORITY unsecured claim:
               El At least one of the debtors and another
                                                                  El Student loans
               o Check if this claim is for a community
               debt                                               El Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                    report as priority claims

               ▪   No                                             El Debts to pension or profit-sharing plans, and other similar debts
                                                                                        Collections on Account
               Dyes                                               •    Other. Specify   (Northeast Georia Medical Center)




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 6 of 9
                Case 19-56460-lrc                    Doc 1       Filed 04/26/19 Entered 04/26/19 13:36:12                                       Desc
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Debtor 1      Amanda Hawkins                                                                     Case number (if known)

4.1
7        North Atlanta Endocrinology                         Last 4 digits of account number                                                           $219.00
         Nonpriority Creditor's Name
         112 Ward Street                                     When was the debt incurred?
         Macon, GA 31204
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

         •    Debtor 1 only                                  El Contingent
         0 Debtor 2 only                                     0 Unliquidated
         o Debtor 1 and Debtor 2 only                        0 Disputed
         O At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

         0 Check if this claim is for a community            o Student loans
         debt                                                o Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

         III No                                              o Debts to pension or profit-sharing plans, and other similar debts

         CI Yes                                              •   Other. Specify   Medical Bill


4.1
8        Optimums Outcome, Inc                               Last 4 digits of account number                                                           $978.00
         Nonpriority Creditor's Name
         2651 Warrenville Road 500                           When was the debt incurred?
         Downers Grove, IL 60515
         Number Street City State Zip Code                   As of the date you file, the claim Is: Check all that apply
         Who incurred the debt? Check one.

         III Debtor 1 only                                   o Contingent
         0 Debtor 2 only                                     0 Unliquidated
          O Debtor 1 and Debtor 2 only                       0 Disputed
         o At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

         o Check if this claim is for a community            0 Student loans
         debt                                                0 Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

         ▪    No                                             o Debts to pension or profit-sharing plans, and other similar debts

                                                                                  Collections on Account
         0 Yes                                               a Other. Specify     (Gwinneft Emergency Specialists)


4.1
9        Quest Diagnostics                                   Last 4 digits of account number                                                            $58.00
         Nonpriority Creditor's Name
         2269 S Saw Mill River Rd                            When was the debt incurred?
         Elmsford, NY 10523
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

         111 Debtor 1 only                                   CI Contingent
          o Debtor 2 Only                                    O Unliquidated
          o Debtor 1 and Debtor 2 only                       0 Disputed
          0 At least one of the debtors and another          Type of NONPRIORITY unsecured claim:

          0 Check if this claim is for a community           0 Student loans
         debt                                                El Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

          ▪   No                                             0 Debts to pension or profit-sharing plans, and other similar debts
          o Yes                                              MI Other. Specify    Medical Bill




Official Form 106 E/F                            Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 7 of 9
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Debtor 1        Amanda Hawkins                                                                             Case number (if known)


4.2                                                                                                                                                           $955.00
0         Resurgent Capital Services                                Last 4 digits of account number
          Nonpriority Creditor's Name
          P.O. Box 1269                                             When was the debt incurred?
          Greenville, SC 29602
          Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          •     Debtor 1 only                                        0 Contingent
          0 Debtor 2 only                                            o Unliquidated
          O Debtor 1 and Debtor 2 only                              0 Disputed
                                                                    Type of NONPRIORITY unsecured claim:
          O At least one of the debtors and another
          o Check if this claim is for a community
                                                                     0 Student loans
          debt                                                      0 Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                           report as priority claims

          ▪      No                                                  0 Debts to pension or profit-sharing plans, and other similar debts
                                                                                              Collections on Account
          0 Yes                                                      •       Other. Specify   (Credit One Bank)


4.2                                                                                                                                                           $956.00
1         Stallings Financial                                        Last 4 digits of account number
          Nonpriority Creditors Name
          1111 S. Marietta Parkway SE                                When was the debt incurred?
          Marietta, GA 30060
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          •      Debtor 1 only                                       0 Contingent
          0 Debtor 2 only                                            0 Unliquidated
          0 Debtor 1 and Debtor 2 only                               0 Disputed
          0      At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

          o Check if this claim is for a community
                                                                     0 Student loans
          debt                                                       0 Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

          ▪      No                                                  O Debts to pension or profit-sharing plans, and other similar debts
                                                                                       Collections on Account
          ▪     Yes                                                  IN Other. Specify (Caduceus Occupational Medicine)


4.2
          World Finance                                              Last 4 digits of account number                                                          $735.00
2
          Nonpriority Creditors Name
          1030 Old Peachtree Road NW                                 When was the debt incurred?
          Lawrenceville, GA 30043
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              111 Debtor 1 only                                          0 Contingent
              0 Debtor 2 only                                            O Unliquidated
              0 Debtor 1 and Debtor 2 only                               O Disputed
              0 At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

          0 Check if this claim is for a community                       0 Student loans
          debt                                                       O Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              1111 No                                                    0 Debts to pension or profit-sharing plans, and other similar debts

              0 Yes                                                      •   Other. Specify


Part 3:         List Others to Be Notified About a Debt That You Already Listed

6. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, Ifs collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts In Parts 1 or 2, do not fill out or submit this page.


Official Form 106 E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 8 of 9
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 Debtor 1 Amanda Hawkins                                                                                Case number Or known)


 Part 4:    Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                          Total Claim
                        6a.   Domestic support obligations                                                6a.                            0.00
      Total
     claims
 from Part 1            6b.   Taxes and certain other debts you owe the government                        6b.                            0.00
                        6c.   Claims for death or personal injury while you Were intoxicated              6c.                            0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.     6d.                            0.00


                        6e.   Total Priority. Add lines 6a through 6d.                                    6e.                            0.00 •


                                                                                                                           Total Claim
                        6f.   Student loans                                                               6f.                            0.00
       Total
     claims
 from Part 2            6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                       6g.                            0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts           6h.                            0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount        6i.
                              here.
                                                                                                                                    28,151.00


                        6j.   Total Nonpriority. Add lines 6f through 6i.                                 6j.                       28,151.00




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 9 of 9
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Fill in this information to identify your case:

Debtor 1                   Amanda Hawkins
                           First Name                         Middle Name              Last Name

Debtor 2
(Spouse if, filing)        First Name                         Middle Name              Last Name


United States Bankruptcy Court for the:                NORTHERN DISTRICT OF GEORGIA

Case number
(if known)                                                                                                                          0   Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
           • No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
           0 Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule NB:Properly (Official Form 106 NB).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


                       company with whom you have the contract or lease                   State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code
     2.1
             Name


             Number     Street

             Ci                                     State                   ZIP Code
     2.2
             Name


             Number      Street

                                                    State                   ZIP Code
 2.3
             Name

             Number      Street

                                                    State                   ZIP Code
     2.4
             Name

             Number      Street

             City                                    State                  ZIP Code
     2.5
             Name


             Number      Street

              City                                  State                   ZIP Code




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 1
                       Case 19-56460-lrc                   Doc 1          Filed 04/26/19 Entered 04/26/19 13:36:12                Desc
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Fill in this information to identify your case:

Debtor 1                   Amanda Hawkins
                           First Name                           Middle Name          Last Name

Debtor 2
(Spouse if. filing)        First Name                           Middle Name          Last Name


United States Bankruptcy Court for the:                 NORTHERN DISTRICT OF GEORGIA

Case number
(if known)                                                                                                                  O Check if this is an
                                                                                                                              amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                     12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

      1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

      • No
      0 Yes

      2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

      • No. Go to line 3.
      O Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


  3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
     in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
     Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
     out Column 2.

               Column 1: Your codebtor                                                               Column 2: The creditor to whom you owe the debt
               Name, Number, Street, City, State and ZIP Code                                        Check all schedules that apply:

    3.1                                                                                              o Schedule D, line
                Name
                                                                                                     o Schedule E/F, line
                                                                                                     o Schedule G, line
                Number            Street
                City                                    State                         ZIP Code




                                                                                                     0 Schedule D, line
                Name
                                                                                                     0 Schedule E/F, line
                                                                                                     0 Schedule G, line
                Number            Street
                City                                    State                         ZIP Code




Official Form 106H                                                               Schedule H: Your Codebtors                                 Page 1 of 1
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Fill in this information to identif   our case:

Debtor 1                      Amanda Hawkins

Debtor 2
(Spouse, if filing)


United States Bankruptcy Court for the:       NORTHERN DISTRICT OF GEORGIA

Case number                                                                                            Check if this is:
(If known)
                                                                                                       o An amended filing
                                                                                                       o A supplement showing postpetition chapter
                                                                                                         13 income as of the following date:

Official Form 1061                                                                                         MM / DD/ YYYY
Schedule I: Your Income                                                                                                                              12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1:              Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                  . Debtor 2:Or non-filing ,spbuse, ,

       If you have more than one Job,                              •   Employed                               o Employed
       attach a separate page with           Employment status
       information about additional                                1:1 Not employed                           •   Not employed
       employers.
                                             Occupation            Mail Carrier
       Include part-time, seasonal, or
       self-employed work.                   Employers name        Atlanta Postal Credit Union

       Occupation may include student        Employer's address
                                                                   3900 Crown Road
       or homemaker, If it applies.
                                                                   Atlanta, GA 30380

                                             How long employed there?         4 years

 Part 2:              Give Details About Monthly Income

Estimate monthly income as of the date you Me this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                     For Debtor 1          For Debtor 2 or
                                                                                                                           non-filing Spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.         2.    $         2,767.00                      0.00

3.     Estimate and list monthly overtime pay.                                             3.   +$                0.00     +$            0.00

4.     Calculate gross Income. Add line 2 + line 3.                                        4.    $      2,767.00                      0.00




Official Form 1061                                                      Schedule I: Your Income                                                    page 1
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Debtor 1 Amanda Hawkins                                                                          Case number (if known)


                                                                                                  For Debtor 1            For Debtor 2 or
                                                                                                                          non-filing spouse
     Copy line 4 here                                                                     4.      $         2,767.00      $             0.00

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.     $           467.00      $                0.00
     5b.    Mandatory contributions for retirement plans                                  5b.     $             0.00      $                0.00
     5c.    Voluntary contributions for retirement plans                                  5c.     $             0.00      $                0.00
     5d.    Required repayments of retirement fund loans                                  5d.     $              0.00     $                0.00
     5e.    Insurance                                                                     5e.     $              0.00     $                0.00
     5f.    Domestic support obligations                                                  5f.     $              0.00     $                0.00
     5g.    Union dues                                                                    5g.     $             20.00     $                0.00
     5h.    Other deductions. Specify:                                                    5h.+    $              0.00 +   $                0.00
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.      $           487.00      $                0.00
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          2,280.00      $                0.00
8.   List all other income regularly received:
     8a.    Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.     $              0.00     $                0.00
     8b.    Interest and dividends                                                        8b.     $              0.00     $                0.00
     8c.    Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.     $              0.00     $                   0.00
     8d.    Unemployment compensation                                                     8d.     $              0.00     $                   0.00
     8e.    Social Security                                                               8e.     $              0.00     $                   0.00
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.     $              0.00   $                0.00
      8g.   Pension or retirement income                                                  89.     $              0.00   $                0.00
      8h.   Other monthly income. Specify:      Workers Comp                              8h.+ $                 0.00 + $            1,879.00

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.                     0.00                    1,879.00


10. Calculate monthly income. Add line 7 + line 9.                                      10. $         2,280.00        $       1,879.00        $      4,159.00
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
     Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
     other friends or relatives.
     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
     Specify:                                                                                                                  11. +$                   0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
     VVrite that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
     applies                                                                                                                       12.    $          4,159.00

                                                                                                                                          Combined
                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
    •     No.
    0     Yes. Explain:  Husband is a current Chapter 13




Official Form 1061                                                     Schedule I: Your Income                                                       page 2
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Fill in this information to identify your case.

Debtor 1              Amanda Hawkins                                                                           Check if this is:
                                                                                                               o   An amended filing
Debtor 2                                                                                                       El A supplement showing postpetition chapter
(Spouse, if filing)                                                                                                13 expenses as of the following date:

United States Bankruptcy Court for the:       NORTHERN DISTRICT OF GEORGIA                                           MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part          Describe Your Household
       Is this a joint case?

       • No. Go to line 2.
       O Yes. Does Debtor 2 live in a separate household?
                O No
                O Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.     Do you have dependents?            0 No
       Do not list Debtor 1 and                        Fill out this information for   Dependent's relationship to       Dependent's    Does dependent
                                          •    Yes.    each dependent                  Debtor 1 or Debtor 2              age            live with you?
       Debtor 2.

       Do not state the                                                                                                                      No
       dependents names.                                                               Son                               13             •    Yes
                                                                                                                                             No
                                                                                       Son                               14             • Yes
                                                                                                                                        O No
                                                                                                                                        1:1 Yes
                                                                                                                                        O No
                                                                                                                                        CI Yes
3.     Do your expenses include                   •   No
       expenses of people other than
       yourself and your dependents?              o Yes

Part 2     Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy tiling date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 1061.)                                                                                                        Your expenses
                                                                                                                oviemaitamilh.

4.     The rental or home ownership expenses for your residence. Include first mortgage
       payments and any rent for the ground or lot.                                                             4. $                         1,169.00

       If not included in line 4:

       4a.   Real estate taxes                                                                                4a.    $                             0.00
       4b.   Property, homeowner's, or renter's insurance                                                     4b.    $                             0.00
       4c.   Home maintenance, repair, and upkeep expenses                                                    4c.    $                             0.00
       41.   Homeowner's association or condominium dues                                                      4d.    $                             0.00
5.     Additional mortgage payments for your residence, such as home equity loans                              5.    $                             0.00




Official Form 106J                                                       Schedule J: Your Expenses                                                        page 1
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Debtor 1    Amanda Hawkins                                                                           Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                    6a. $                                               410.00
      6b. Water, sewer, garbage collection                                                  6b. $                                               150.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                    6c. $                                               320.00
      6d. Other. Specify:                                                                   6d. $                                                 0.00
7.    Food and housekeeping supplies                                                          7. $                                              800.00
8.    Childcare and children's education costs                                                8. $                                              100.00
9.    Clothing, laundry, and dry cleaning                                                     9. $                                                80.00
10.   Personal care products and services                                                   10. $                                                 50.00
11.   Medical and dental expenses                                                           11. $                                                 50.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                          12. $                                               350.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                    13. $                                                 20.00
14.   Charitable contributions and religious donations                                      14. $                                                  0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                  0.00
      15b. Health insurance                                                                15b. $                                                 0.00
      15c. Vehicle insurance                                                               15c. $                                               200.00
      15d. Other insurance. Specify:                                                       15d. $                                                  0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                              16. $                                                   0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a.                                                 326.00
      17b. Car payments for Vehicle 2                                                      17b.                                                    0.00
      17c. Other. Specify:                                                                  17c.                                                   0.00
      17d. Other. Specify:                                                                 17d.                                                    0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 1061).       18. $                                                   0.00
19.   Other payments you make to support others who do not live with you.                                                                           0.00
      Specify:                                                                              19.
20.   Other real property expenses not included in lines 4 or 6 of this form or on Schedule Your Income.
      20a. Mortgages on other property                                                     20a. $                                                 0.00
      20b. Real estate taxes                                                               20b. $                                                 0.00
      20c. Property, homeowner's, or renter's insurance                                    20c. $                                                 0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                 0.00
      20e. Homeowner's association or condominium dues                                     20e. $                                                 0.00
21.   Other: Specify:    Car Maintenance                                                     21. +$                                             134.00

22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                                           4,159.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2
      22c.Add line 22a and 22b. The result is your monthly expenses.                                                                       4,159.00

23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                     23a. $                              4,159.00
    23b. Copy your monthly expenses from line 22c above.                                                  23b. -$                             4,159.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                         23c.                                      0.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
    modification to the terms of your mortgage?
      • No.
      0 Yes.             Explain here:




Official Form 106J                                                Schedule J: Your Expenses                                                                     page 2
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    Fill in this information to identify your case:

    Debtor 1                 Amanda Hawkins
                              First Name                Middle Name                Last Name

    Debtor 2
    (Spouse if, filing)       First Name                Middle Name                Last Name


    United States Bankruptcy Court for the:       NORTHERN DISTRICT OF GEORGIA

    Case number
    (if known)                                                                                                                   El Check if this is an
                                                                                                                                    amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                        12/15


If you are an individual filing under chapter 7, you must fill out this form if:
•      creditors have claims secured by your property, or
• you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

    Part 1:        List Your Creditors Who Have Secured Claims

I. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.
        Identify the creditor and the property that is collateral      What do you intend to do with the property that       Did you claim the property
                                                                       secures a debt?                                       as exempt on Schedule C?



        Creditors         Atlanta Postal Credit Union                  O Surrender the property.                             0 No
        name:                                                          O Retain the property and redeem it.
                                                                       • Retain the property and enter into a                •     Yes
        Description of       2013 Kia Optima                             Reaffirmation Agreement.
        property             (105K miles)
                                                                       0 Retain the property and [explain]:
        securing debt:



        Creditors         Freedom Mortgage                             0 Surrender the property.                             0 No
        name:                                                          0 Retain the property and redeem it.
                                                                       • Retain the property and enter into a                •     Yes
        Description of       257 Fox Run Loganville, GA                  Reaffirmation Agreement.
        property             30052 Gwinnett County
                                                                       O Retain the property and [explain]:
        securing debt:

 Part 2    List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 366(p)(2).

    Describe your unexpired personal property leases                                                                     Will the lease be assumed?



Official Form 108                                   Statement of Intention for Individuals Filing Under Chapter 7                                         page 1
              Case 19-56460-lrc            Doc 1      Filed 04/26/19 Entered 04/26/19 13:36:12                            Desc
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Debtor 1   Amanda Hawkins                                                               Case number (if known)


Lessor's name:                                                                                                   CI No
Description of leased
Property:                                                                                                        o Yes

Lessors name:                                                                                                    O No
Description of leased
Property:                                                                                                        o Yes

Lessors name:                                                                                                    O No
Description of leased
Property:                                                                                                        o Yes

Lessor's name:                                                                                                   ▪   No
Description of leased
Property:                                                                                                        o Yes

Lessor's name:                                                                                                   o No
Description of leased
Property:                                                                                                        o Yes

Lessor's name:                                                                                                   ▪   No
Description of leased
Property:                                                                                                        o Yes

Lessor's name:                                                                                                   ▪   No
Description of leased
Property:                                                                                                        o Yes

Part 3:    Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
propeft,y that is subject to an unexpired lease.

                                                                       X
      manda Hawkin                                                         Signature of Debtor 2
     Signature of Debtor 1

     Dee     o_qz_a&_,DLDR___                                          Date




Official Form 108                          Statement of Intention for Individuals Filing Under Chapter 7                                page 2
                      Case 19-56460-lrc            Doc 1       Filed 04/26/19 Entered 04/26/19 13:36:12                                  Desc
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Fill in this information to identify your case:

Debtor 1                 Amanda Hawkins
                         First Name                  Middle Name                 Last Name

Debtor 2
(Spouse if, filing)      First Name                  Middle Name                 Last Name


United States Bankruptcy Court for the:         NORTHERN DISTRICT OF GEORGIA

Case number
(if known)                                                                                                                        1:1 Check if this is an
                                                                                                                                      amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1        Summarize Your Assets

                                                                                                                                     Your assets            ,
                                                                                                                                     Value of what you own

1.     Schedule A/B: Property (Official Form 106A/B)
       Ia. Copy line 55, Total real estate, from Schedule A/B                                                                                       195,000.00

        lb. Copy line 62, Total personal property, from Schedule NB                                                                                     3,210.00

       lc. Copy line 63, Total of all property on Schedule A/B                                                                                      198,210.00

 Part 2:       Summarize Your Liabilities

                                                                                                                                     Your liabilities
                                                                                                                                     Amount you owe

2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
       2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                        169,910.49

3.     Schedule E./F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
       3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F                                                           0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F                                            28,151.00


                                                                                                         Your total liabilities                 198,061.49


 Part 3        Summarize Your Income and Expenses

4.     Schedule!: Your Income (Official Form 1061)
       Copy your combined monthly income from line 12 of Schedule I                                                                                     4,159.00

5.     Schedule J: Your Expenses (Official Form 106J)
       Copy your monthly expenses from line 22c of Schedule J                                                                                           4,159.00

 Part 4        Answer These Questions for Administrative and Statistical Records

6.      Are you filing for bankruptcy under Chapters 7, 11, or 13?
        0      No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

        •      Yes
7.     What kind of debt do you have?

        •      Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal, family, or
               household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

        1:1    Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                                  page 1 of 2
              Case 19-56460-lrc                  Doc 1      Filed 04/26/19 Entered 04/26/19 13:36:12                      Desc
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Debtor 1   Amanda Hawkins                                                              Case number (if known)

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form                4,646.00
     122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                   Total claim
     From Part 4 on Schedule E/F, copy the following:

     9a. Domestic support obligations (Copy line 6a.)                                                              0.00

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                     0.00

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                           0.00

     9d. Student loans. (Copy line 61.)                                                                            0.00

     9e. Obligations arising out of a separation agreement or divorce that you did not report as
                                                                                                                   0.00
         priority claims. (Copy line 6g.)

     9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)        +$              0.00


     9g. Total. Add lines 9a through 9f.                                                                         0.00




Official Form 106Sum                       Summary of Your Assets and Liabilities and Certain Statistical Information             page 2 of 2
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Fill in this information to identify your case:

Debtor 1                    Amanda Hawkins
                            First Name            Middle Name              Last Name

Debtor 2
(Spouse if, filing)         First Name            Middle Name              Last Name


United States Bankruptcy Court for the:      NORTHERN DISTRICT OF GEORGIA

Case number
(if known)                                                                                                               1:1 Check if this is an
                                                                                                                             amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                 12/16


If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $260,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 162, 1341, 1619, and 3671.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

        •      No

        El     Yes. Name of person                                                                     Attach Bankruptcy Petition Prepares Notice,
                                                                                                       Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules tiled with this declaration and
      that they are true and correct.

        X                                                                  X
             Amanda Hawkins                                                    Signature of Debtor 2
             Signature of Debtor 1

             Date         QC4.- a6       aor                                   Date




Official Form 106Dec                              Declaration About an Individual Debtor's Schedules
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Fill in this information to identify your case:                                                 Check one box only as directed in this form and in Form
                                                                                                122A-1 Stipp:
Debtor 1               Amanda Hawkins

Debtor 2                                                                                          •     1. There is no presumption of abuse
(Spouse, if filing)
United States Bankruptcy Court for the:       Northern District of Georgia
                                                                                                  o 2. The calculation to determine if a presumption of abuse
                                                                                                           applies will be made under Chapter 7 Means Test
                                                                                                           Calculation (Official Form 122A-2).
Case number
(if Imown)                                                                                        ID 3. The Means Test does not apply now because of
                                                                                                         qualified military service but it could apply later.
                                                                                                      0 Check if this is an amended filing

Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                              12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(6)(2) (Official Form 122A-1Supp) with this form.
Part 1:           Calculate Your Current Monthly Income
  1. What is your marital and tiling status? Check one only.
        0 Not married. Fill out Column A, lines 2-11.
        0 Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
       •       Married and your spouse is NOT filing with you. You and your spouse are:
           •     Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
           0 Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
              penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
              living apart for reasons that do not include evading the Means Test requirements. 11 U.S.0 § 707(b)(7)(B).
   Fill in the average monthly income that you received from all sources derived during the 6 full months before you file this bankruptcy case. 11 U S C §
   101(10A). For example if you are filing on September 15 the 6-month period would be March 1 through August 31.1f the amount of your monthly income vaned during
   the 6 months add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example if both
   spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line write $0 in the space.
                                                                                                      Column A               Column B
                                                                                                      Debtor 1               Debtor 2 or
                                                                                                                             non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                                                      2,767.00      $              0.00
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                                                        0.00      $              0.00
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                                                      0.00      $              0.00
  5. Net income from operating a business, profession, or farm
                                                                      Debtor 1
        Gross receipts (before all deductions)                       $       0.00
        Ordinary and necessary operating expenses                   4        0.00
     Net monthly income from a business, profession, or farm $               0.00 Copy here -> $                   0.00      $              0.00
  6. Net income from rental and other real property
                                                                              Debtor 1
        Gross receipts (before all deductions)                       $       0.00
        Ordinary and necessary operating expenses                   -$       0.00
        Net monthly income from rental or other real property                0.00 Copy here -> $                   0.00      $              0.00

  7. Interest, dividends, and royalties                                                                            0.00      $              0.00




Official Form 122A-1                               Chapter 7 Statement of Your Current Monthly Income                                                      page 1
                      Case 19-56460-lrc              Doc 1         Filed 04/26/19 Entered 04/26/19 13:36:12                                   Desc
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Debtor 1     Amanda Hawkins                                                                           Case number (if known)



                                                                                                  Column A                     Column B
                                                                                                  Debtor 1                     Debtor 2 or
                                                                                                                               non-filing spouse
 8. Unemployment compensation                                                                                        0.00      $             0.00
      Do not enter the amount if you contend that the amount received was a benefit under
      the Social Security Act. Instead, list it here:
         For you                                                               0.00
           For your spouse                                                                0.00
 9. Pension or retirement income. Do not include any amount received that was a                                                              0.00
                                                                                                                     0.00      $
     benefit under the Social Security Act.
 10. Income from all other sources not listed above. Specify the source and amount.
     Do not include any benefits received under the Social Security Act or payments
     received as a victim of a war crime, a crime against humanity, or international or
     domestic terrorism. If necessary, list other sources on a separate page and put the
     total below.
            - Workers Comp                                                                                           0.00       $         1,879.00
                                                                                                                     0.00       $            0.00
                      Total amounts from separate pages, if any.                                 +$                  0.00       $            0.00

  11. Calculate your total current monthly income. Add lines 2 through 10 for
                                                                                             $    2,767.00             $       1,879.00        $      4,646.00
      each column. Then add the total for Column A to the total for Column B.

                                                                                                                                               Total current monthly
                                                                                                                                               income

Part 2:           Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly income from line 11                                             Copy line 11 here=>               $       4,646.00


             Multiply by 12 (the number of months in a year)                                                                                       X 12

      12b. The result is your annual income for this part of the form                                                                 12b. $         55,752.00


  13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.                                 GA


       Fill in the number of people in your household.                       4

       Fill in the median family income for your state and size of household.                                                         13.            82,476.00
       To find a list of applicable median income amounts, go online using the link specified in the separate instructions
       for this form. This list may also be available at the bankruptcy clerk's office.
  14. How do the lines compare?
       14a.       •       Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                          Go to Part 3.
       14b.        0      Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                          Go to Part 3 and fill out Form 122A-2.
 Part 3:          Sign Below
              By signipg here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

             X
                    manda Hawkins
                  ota tu of De tor 1
           Date       t
                 MM / D /
                                6     ao)
              If you checked line 14a, do NOT fill out or file Form 122A-2.
              If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                  Chapter 7 Statement of Your Current Monthly Income                                                      page 2
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                                              United States Bankruptcy Court
                                                    Northern District of Georgia
 In re   Amanda Hawkins                                                                        Case No.
                                                                   Debtor(s)                   Chapter     7




                                  VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



Date: OLi
                                                       Amang Haw ns
                                                       Signature of Debtor
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                    Acceptance Now
                    5501 Headquarters Drive
                    Plano, TX 75024


                    Atlanta Postal Credit Union
                    3900 Crown Road
                    Atlanta, GA 30380


                    Comenity Bank/Torrid
                    P.O. Box 182789
                    Columbus, OH 43218


                    Covington Credit/SMC
                    4665 Atlanta Hwy ste 400
                    Loganville, GA 30052



                    Credit One Bank
                    6801S. Cimarron Road
                    Las Vegas, NV 89113



                    Creditors Bureau Association
                    112 Ward St
                    Macon, GA 31204


                    Crunch Fitness (Snellville)
                    377 Hoes Lane
                    Suite 200
                    Piscataway, NJ 08854


                    Enhanced Recovery
                    8014 Bayberry Road
                    Jacksonville, FL 32256



                    FedLoan Servicing
                    P.O. Box 69184
                    Harrisburg, PA 17106
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                    First Premeire Bank
                    3820N. Louise Ave
                    Sioux Falls, SD 57107


                    Freedom Mortgage
                    10500 Kincaid Drive
                    Fishers, IN 46037


                    Gwinnett Emergency Specialist
                    2651 Warrenville Rd
                    Suite 500
                    Downers Grove, IL 60515


                    High Priority Loans
                    299 South Main Street
                    Suite 1300
                    Salt Lake City, UT 84111


                    LVNV Funding
                    PO Box 98875
                    Las Vegas, NV 89193


                    Nationwide Recovery
                    545 Inman St W
                    Cleveland, TN 37311


                    North Atlanta Endocrinology
                    112 Ward Street
                    Macon, GA 31204


                    Optimums Outcome, Inc
                    2651 Warrenville Road 500
                    Downers Grove, IL 60515



                    Quest Diagnostics
                    2269 S Saw Mill River Rd
                    Elmsford, NY 10523
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                    Resurgent Capital Services
                    P.O. Box 1269
                    Greenville, SC 29602


                    Stallings Financial
                    1111 S. Marietta Parkway SE
                    Marietta, GA 30060


                    World Finance
                    1030 Old Peachtree Road NW
                    Lawrenceville, GA 30043
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U. S. BANKRUPTCY COURT / NORTHERN DISTRICT OF GEORGIA / ATLANTA DIVISION

RECEIPT #01255816 (0J) OF 04/26/2019


ITEM     CODE   CASE           QUANTITY                        AMOUNT   BY

   1      7IN   19-56460              1                        $ 0.00   Currency
                Judge - unknown at time of receipt
                Debtor - AMANDA HAWKINS


TOTAL:                                                         $ 0.00


FROM: Amanda Hawkins
      257 Fox Run
      Loganville, GA 30052




                                     Page 1 of 1
                  Case 19-56460-lrc                 Doc 1       Filed 04/26/19 Entered 04/26/19 13:36:12                                 Desc
                                                                Petition Page 52 of 52
   Case Number: 19-56460                                                  Name: Hawkins                                                   Chapter: 7

Please submit the following original documents to the Court for filing so that the case will proceed timely. If you would like to have a filed-
stamped copy of the documents, please submit an extra copy along with a self-addressed stamped envelope.

    Individual - Series 100 Forms                                                              El Non-Individual - Series 200 Forms

 MISSING DOCUMENTS DUE WITHIN 7 DAYS                                                            Petition Deficiencies:
 0 Complete List of Creditors (names and addresses of all creditors)                            O Last 4 digits of SSN
 El Pro Se Affidavit (due within 7 days, signature must be notarized,                           O Address El County
 or witnessed by a Court Intake Clerk; accompanied by a picture I.D.)                           O Type of Debtor
 El Signed Statement of SSN (due within 7 days)                                                 O Chapter
                                                                                                El Nature of Debts
   MISSING DOCUMENTS DUE WITHIN 14 DAYS                                                         O Statistical Estimates
   O Statement of Financial Affairs                                                             O Venue
   El Schedules: A/B C D E/ FGHIJ 0 J-2 (different address for Debtor 2)                        D Attorney Bar Number
   El Summary of Assets and Liabilities
   O Declaration About Debtor(s) Schedules                                                                                Case filed via:
   El Attorney Disclosure of Compensation                                                           El Intake Counter by:
   O Petition Preparer's Notice, Declaration and Signature (Form 119)                                    D Attorney
   O Disclosure of Compensation of Petition Preparer (Form 2800)                                         IEJ Debtor - verified ID
   O Chapter 13 Current Monthly Income                                                                   O Other - copy of ID: (404) 610-6607
   LI Chapter 7 Current Monthly Income
   O Chapter 11 Current Monthly Income                                                              El Mailed by:
   O Certificate of Credit Counseling (Individuals only)                                                O Attorney,
   El Pay Advices (Individuals only) (2 Months)                                                         O Debtor
   O Chapter 13 Plan, complete with signatures (local form)                                             O Other:
   O Corporate Resolution (Business Ch. 7 & 11)
                                                                                                               History of Case Association
   Ch.11 Business
   O 20 Largest Unsecured Creditors                                                                 Prior cases within 2 years: None.
   O List of Equity Security Holders
   O Small Business - Balance Sheet
   El Small Business - Statement of Operations                                                      Si     ure:
   O Small Business - Cash Flow Statement
   O Small Business - Federal Tax Returns                                                           Ac nowledgment o receipt of check list

   MISSING DOCUMENTS DUE WITHIN 30 DAYS
   O Statement of Intent — Ch. 7 (Individuals only)

Official and Local Bankruptcy Forms are available on the Court's website at: www.ganb.uscourts.gov. If filing bankruptcy without an
attorney, please read the information regarding Filing Bankruptcy without an Attorney at: www.uscourts.gov/services-forms/banlcruptcy/filing-
without-attorney.

FILING FEE INFORMATION - if the required filing fees are not paid in full at the time of case filing, an Order will be forthcoming:
       O Paid $ 0.00 0 2g-Order Granting        0 3g-Order Granting 10-day finitial payment of $                  due within 10 days)
             2d-Order Denying with filing fee of $_____ due within 10 days                   El IFP filed (Ch.7 Individuals Only)
         O No Application to Pay in Installments, Order Regarding Unpaid Case Filing Fee.

                   You may mail documents and filing fee payments (no personal checks accepted - cashier's check or money orders only) to the address below.
                            All fee payments and documents filed with the Court must show the debtor's name and bankruptcy case number .
                                      **Failure to Comply may result in the dismissal of your case.**
                                                         UNITED STATES BANKRUPTCY COURT
                                                           75 Ted Turner Drive, SW, Room 1340
                                                                  Atlanta, Georgia 30303
                                                                      404-215-1000
 Intake Clerk: 0. Jones, Ill                       Date: 4/26/19                        Case Opener:                                        Date:
